     Case 1:16-cr-00114-RJJ       ECF No. 38, PageID.23           Filed 06/10/16      Page 1 of 1


N                           UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


UNITED STATES OF AMERICA,

               Plaintiff,                             Case No. 1:16-MJ-153

v.                                                    Hon. Ray Kent

CHRISTIAN S. BUIE,

            Defendant.
___________________________________/

                                   ORDER OF DETENTION

               Defendant appeared this date for a detention hearing. For the reasons stated on the

record, the Court finds that the government proved by clear and convincing evidence that no

condition or combination of conditions will assure the safety of the community or the defendant’s

appearance at trial.

               Accordingly, pending trial in this matter, the defendant is committed to the custody

of the Attorney General or his designated representative for confinement in a corrections facility

separate, to the extent practicable, from persons serving sentences or being held in custody pending

appeal. The defendant shall be afforded a reasonable opportunity for private consultation with his

defense counsel. On order of a court of the United States or on request of an attorney for the

government, the person in charge of the corrections facility shall deliver the defendant to the United

States Marshal for the purpose of an appearance in connection with a court proceeding.

               IT IS SO ORDERED.


Dated: June 10, 2016                           /s/ Ray Kent
                                               RAY KENT
                                               United States Magistrate Judge
